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 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                  )
 8                                              )    2:08-cr-00389-GEB
                        Plaintiff,              )
 9                                              )
                  v.                            )    ORDER
10                                              )
     BOUNTHAVEE NERASIN,                        )
11                                              )
                   Defendant.                   )
12   ________________________________           )
13
14                Defendant’s motion for reduction of sentence filed December

15   21, 2010 (ECF No. 136) is denied since Defendant has not shown that the

16   Court has jurisdiction to re-sentence Defendant.

17   Dated:     January 15, 2013
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19                                       GARLAND E. BURRELL, JR.
                                         Senior United States District Judge
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